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                       UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF NEW YORK

   MARTÍN JONATHAN BATALLA VIDAL,
   ANTONIO ALARCON, ELIANA FERNANDEZ,
   CARLOS VARGAS, MARIANO
   MONDRAGON, and CAROLINA FUNG FENG,
   on behalf of themselves and all other similarly
   situated individuals, and MAKE THE ROAD
   NEW YORK, on behalf of itself, its members, its    Case No. 1:16-cv-04756 (NGG) (JO)
   clients, and all similarly situated individuals.
                                                      NOTICE OF ERRATA AND
                 Plaintiffs,                          CORRECTION TO EXHIBITS
                                                      ACCOMPANYING
                         v.
                                                      PLAINTIFFS’ MEMORANDUM
   KIRSTJEN M. NIELSEN, Secretary of the              OF LAW IN OPPOSITION TO
   Department of Homeland Security, JEFFERSON         DEFENDANTS’ MOTION TO
   BEAUREGARD SESSIONS III, Attorney General          DISMISS
   of the United States, and DONALD J. TRUMP,
   President of the United States,

                 Defendants.
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  TO THE HONORABLE DISTRICT COURT:

            Plaintiffs hereby give notice of errata to the Court and all parties regarding exhibits

  accompanying Plaintiffs’ Memorandum of Law in Opposition to Defendants’ Motion to Dismiss,

  ECF No. 240-1. Exhibit H in the filing is an incorrect version of Ms. Taylor’s declaration in support

  of Plaintiffs’ opposition to the motion to dismiss, Exhibits I-L contained personal identifying

  information requiring redaction, and Exhibits I and J were incorrect versions of those documents.

  Finally, Exhibits I-L were mislabeled. For these reasons, Plaintiffs hereby are filing a corrected set

  of exhibits to replace the filing currently docketed at ECF No. 240-1. This set consists of Exhibits

  A-H and Declaration Exhibits A-D. Plaintiffs regret any inconvenience caused by this error.

  Respectfully submitted,                                 Date: January 14, 2018

  /s/ Michael J. Wishnie
  MICHAEL J. WISHNIE

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      Phone: (718) 418-7690                             Attorneys for Plaintiffs
  †
   Motion for pro hac vice forthcoming
  * Admitted only in Louisiana, application pending in New York


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                                    CERTIFICATE OF SERVICE

           I hereby certify that on January 14, 2018, true and correct copies of the foregoing Notice
  of Errata and Correction to Exhibits Accompanying Plaintiffs’ Memorandum of Law in Opposition
  to Defendants’ Motion to Dismiss, and exhibits attached thereto, were filed electronically. Notice
  of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system.
  Parties may access this filing through the Court’s CM/ECF system.

                                                 /s/ Michael J. Wishnie
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